            Case 2:20-cv-02398-MMB Document 23 Filed 04/13/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
 CORNERSTONE WARRINGTON, INC.,                   :   Civil Action No. 2:20-cv-02398-MMB
 CORNERSTONE HEALTH & FITNESS                    :
 LP, CORNERSTONE NEW HOPE LP,                    :
 CONEHOPA, LLC and                               :
 THE EVENT CENTER BY                             :
 CORNERSTONE,                                    :
                 Plaintiffs,                     :
                                                 :
            v.                                   :
                                                 :
 THE CINCINNATI INSURANCE                        :
 COMPANY,                                        :
                                                 :
                 Defendant.                      :

                                    NOTICE OF APPEAL

        Notice is hereby given that Plaintiffs Cornerstone Warrington, Inc., Cornerstone Health &

Fitness LP, Cornerstone New Hope LP, Conehopa, LLC and The Event Center by Cornerstone

hereby appeal to the United States Court of Appeals for the Third Circuit from the Order of the

Honorable Michael M. Baylson, U.S.D.J. granting Defendant The Cincinnati Insurance

Company’s Motion to Dismiss, dated March 30, 2021.

                                             Respectfully submitted,

                                             SHERMAN, SILVERSTEIN, KOHL,
                                             ROSE & PODOLSKY, P.A.

DATE: April 12, 2021                 By:     /s/ Alan C. Milstein
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